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                                                           HONORABLE RICHARD A. JONES
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                             UNITED STATES DISTRICT COURT
7                           WESTERN DISTRICT OF WASHINGTON
                                      AT SEATTLE
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     UNITED STATES OF AMERICA,
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                   Plaintiff,
10                                                       Case No. CR18-315 RAJ
            v.
11                                                       ORDER
     GIZACHEW WONDIE,
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                   Defendant.
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15          In a previous Order, this Court granted in part and denied in part Defendant

16   Gizachew Wondie’s motion to unseal. Dkt. # 334. It instructed the parties to submit

17   their joint proposed redactions to the Court’s previous orders. 1 Id. at 4.

18          The parties have since filed their proposed redactions, 2 not without disagreement.

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       The Court also denied the government’s motion to seal its response to Mr. Wondie’s
     motion to seal. Dkt. # 334. The Court said that the government could file a redacted
21   version of its response “consistent” with the Court’s order. Id. The government says that
22   its currently-sealed response, located at Docket No. 327, may be unsealed. Dkt. # 338.
     Yet it maintains that the attachments to the response, not the response itself, contains
23   confidential information. Id. The Court will allow those attachments to remain under
     seal. Dkt. ## 327-1 to 327-4.
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       Mr. Wondie has filed those proposed redacted versions under seal. To that end, he has
     filed a motion to seal those proposed redacted versions. Dkt. # 335. Given that the
26   unsealing of those versions would entirely defeat the purpose of this sealing process, the
     Court finds good cause for those proposed redacted versions to remain under seal. Dkt.
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     # 337. Thus, the Court GRANTS Mr. Wondie’s motion. Dkt. # 335.
28   ORDER – 1
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     Dkt. ## 336, 337. Though the parties agree that only a single redaction need be applied
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     to the Court’s order located at Docket No. 321, they disagree about the redactions to be
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     applied to the Court’s other order, located at Docket No. 314. To that end, they have
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     submitted different proposed redacted versions of the order located at Docket No. 314.
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     Dkt. ## 337-1, 337-2.
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            The Court adopts the government’s version. Dkt. # 337-2. The Court previously
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     allowed “the name and other identifying characteristics of the murder victim” to remain
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     under seal. Dkt. # 334 at 4 (emphasis added). The government believes that “the date of
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     the homicide and the caliber and number of rounds of the ammunition at issue” are
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     “identifying characteristics.” Dkt. # 336 at 2. The Court agrees. As the government puts
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     it, these details “effectively identify the particular homicide,” potentially harming an
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     ongoing murder investigation while providing no meaningful benefit to the public. Id.
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            The parties are instructed to send a PDF version of the two redacted orders (Dkt.
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     ## 337, 337-2) to the Court’s courtroom deputy so that the Court may file those versions
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     publicly. Further, the Court directs the Clerk to unseal Docket No. 327. Docket Nos.
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     327-1 to 327-4, however, shall remain under seal.
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            IT IS SO ORDERED.
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            DATED this 16th day of December, 2021.
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                                                       A
                                                       The Honorable Richard A. Jones
                                                       United States District Judge
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28   ORDER – 2
